            Case 2:22-xc-03930 Document 1-2 Filed 10/14/22 Page 1 of 3


                                                                     2                               LAND    FILED
ZAKIAH RAHMAN                                               NUMBER                 SECTION                  DA
                                                                                                                  RY
                                                            23" JUDICIAL DISTRICT COURT
VERSUS                                                                            nn AG -3                   Alli
                                                                                               ~ rginaj Signed by:
TRISURA SPECIALTY INSURANCE                                 PARISH OF ASCENSION                  alalie Hanng.         yn
COMPANY, TRUENORTH                                                                                  aN PARISH LA.
TRANSPORTATION COMPANY
AND COREY AHLBERG                                           STATE OF LOUISIANA

                                       PETITION FOR DAMAGES

        NOW     INTO        COURT,     through    undersigned   counsel,   comes   ZAKIAH      RAHMAN,            a

resident of the full age of majority of the Parish of East Baton Rouge, State of Louisiana, who

respectfully represents:




        Made Defendants are:

                1.          TRISURA SPECIALTY INSURANCE COMPANY, a foreign
                            insurance company authorized to do and doing business in the
                            State of Louisiana;

                2.         TRUENORTH TRANSPORTATION COMPANY, a foreign
                           corporation authorized to do and doing business in the State of
                            Louisiana; and

                3.         COREY AHLBERG, alleged on information and belief to be a
                           resident of the full age of majority of the County of Polk, State of
                           Florida.


                                                       2

        On or about August 12, 2021, at approximately             11:15 p.m., ZAKIAH        RAHMAN          was

operating   a 2007   Jeep     Wrangler,   owned     by Musa     Rahman,    and traveling    in a westbound

direction on Interstate 10, in the Parish of Ascension, State of Louisiana.

                                                       3.

        At approximately the same time and place, COREY                AHLBERG      was operating a 2015

Peterbilt 579, owned       by TRUENORTH           TRANSPORTATION           COMPANY,        said vehicle also

traveling west on Interstate 10.

                                                       4.

       The 2015 Peterbilt 579 was situated directly behind the RAHMAN               vehicle.

                                                       3

       At the above described time and location, COREY AHLBERG struck the rear portion of

ZAKIAH RAHMAN’s             vehicle with the 2015 Peterbilt 579.




                                                                                    EXHIBIT "A"
             Case 2:22-xc-03930 Document 1-2 Filed 10/14/22 Page 2 of 3




                                                 6.

       The acts of fauit and lack of skill by defendant, COREY           AHLBERG,     which were the

proximate cause of the collision, were as follows:

               i)      Failing to keep a proper lookout;

               (ii)    Failing to have his automobile under control so as to keep it from
                       striking petitioner’s vehicle;

               (iii)   Failing to steer his automobile properly so as to avoid striking
                       petitioner’s vehicle;

               (iv)    Failing to apply the brakes properly on his automobile so as to
                       bring it to a stop before colliding with petitioner’s vehicle;

               (v)     Following too closely;

               (vi)    Such other acts and omissions as will be shown on the trial, all of
                       which were in contravention of the exercise of due care, prudence,
                       and the laws of the State of Louisiana, which are specially pleaded
                       as if and as though copied in extenso.

                                                 7.

       At the time of the accident, COREY        AHLBERG       was in the course and scope of his

employment     with    TRUENORTH         TRANSPORTATION            COMPANY            and,   as   such,

TRUENORTH TRANSPORTATION COMPANY is vicariously liable for his actions.

                                                 8.

       TRUENORTH        TRANSPORTATION           COMPANY        is also responsible     for their own

independent acts of negligence.

                                                 9.

       As a result of this collision, ZAKIAH          RAHMAN     has sustained the following non-

exclusive elements of damages:

       a.      Physical pain and suffering (past, present and future);

       b.      Mental anguish (past, present and future);

       c.      Loss of enjoyment of life (past, present and future);

       d.      Disfigurement and disability;

               Medical Expenses (past, present and future);

               Lost Wages/Earnings (past, present and future);

               Property Damages;

               Other elements of damages developed during discovery and/or demonstrated with
               particularity at the trial of this matter.
            Case 2:22-xc-03930 Document 1-2 Filed 10/14/22 Page 3 of 3




                                                         10.

       Petitioner alleges on information and belief that at the time of this accident there was in

full force and effect a policy        of insurance        issued by defendant,       TRISURA     SPECIALTY

INSURANCE       COMPANY,           under     the terms     of which    it agreed    to insure and    indemnify

defendants, TRUENORTH             TRANSPORTATION               COMPANY      and COREY AHLBERG             from

the damages asserted herein.

                                                         11.

       The value of this claim exceeds the amount required to request a trial by jury.

       WHEREFORE,           Plaintiff, ZAKIAH        RAHMAN,          prays that defendants be served with

this Petition, and after being duly cited to appear and answer same and the expiration of all legal

delays and due proceedings are had, that there be judgment rendered herein in favor of Plaintiff,

ZAKIAH      RAHMAN          and    against     Defendants,      TRISURA       SPECIALTY          INSURANCE

COMPANY,       TRUENORTH            TRANSPORTATION               COMPANY           and   COREY      AHLBERG,

jointly and in solido, for such damages as are reasonable in the premises, together with legal

interest from the date of judicial demand until paid, all costs of these proceedings, and such

equitable relief to which plaintiff may be entitled.

                                                    BY ATTORNX

                                                                        ABB (Bar Roll No. 25836)
                                                    DUDLEY DEROASIER INJURY LAWYERS, PLC
                                                    1075 Government Street
                                                    Baton Rouge, Louisiana 70802
                                                    Office: 225-379-4936
                                                    Fax:    225-379-4986
                                                    jrabb@dudleydebosier.com

PLEASE SERVE:

Trisura Specialty Insurance Company
Through its agent for service of process:
The Secretary of State for the
State of Louisiana
Post Office Box 94125
Baton Rouge, Louisiana 70804

Truenorth Transportation Company
Through its agent for service of process:
Through the Long Arm Statute:
CT Corporation System
1999 Bryan Street, Suite 900
Dallas, Texas 75201

Corey Ahlberg
Through the Long Arm Statute:
4418 Talon Loop
Lakeland, Florida   33812
